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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE


ROWVAUGHN WELLS, Individually and as
ADMINISTRATRIX AD LITEM of the Estate of
TYRE DEANDRE NICHOLS, Deceased,

Plaintiff,

v.                                                        No. 2:23-cv-2224-MSN-atc

CITY OF MEMPHIS, a municipality,
CHIEF CERELYN DAVIS, in her official capacity,
EMMITT MARTIN III, in his individual capacity,
DEMETRIUS HALEY, in his individual capacity,
JUSTIN SMITH, in his individual capacity,
DESMOND MILLS, JR., in his individual capacity,
TADARRIUS BEAN, in his individual capacity,
PRESTON HEMPHILL, in his individual capacity,
ROBERT LONG, in his individual capacity,
JAMICHAEL SANDRIDGE, in his individual capacity,
MICHELLE WHITAKER, in her individual capacity,
DEWAYNE SMITH, in his individual capacity, and
as an agent of the City of Memphis,

Defendants.


     DEFENDANTS PRESTON HEMPHILL AND DEWAYNE SMITHS’ JOINDER OF
        DEFENDANT CITY OF MEMPHIS, DEFENDANT ROBERT LONG, AND
       DEFENDANT MICHELLE WHITAKER’S RESPONSE IN OPPOSITION TO
        PLAINTIFF’S MOTION FOR LEAVE TO FILE AMENDED COMPLAINT


        COME NOW Defendants Preston Hemphill and Dwayne Smith, individually, through

counsel, to join in Defendant City of Memphis, Defendant Robert Long, and Defendant Michelle

Whitaker’s Response in Opposition to Plaintiff’s Motion for Leave to File an Amended Complaint,

to the extent their arguments are also applicable to Defendants Hemphill and Smith, noting in

support the following:
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       1.      Plaintiff has failed to comply with the Scheduling Order in this case which provided

               a deadline of November 10, 2023, to amend the Complaint;

       2.      Plaintiff did not move to modify the Scheduling Order to extend the deadline to

               amend the Complaint;

       3.      Allowing the untimely filing of an Amended Complaint would prejudice

               Defendants as significant discovery, including the depositions of Defendant

               Hemphill and Defendant Smith, has already occurred;

       4.      Plaintiff has failed to demonstrate “good cause” as required by Fed.R.Civ.P. 16(b);

       5.      Amendment at this late stage of litigation would cause undue delay; and,

       6.      Plaintiff’s amendments are unnecessary and serve little purpose as there are no new

               allegations, only more detailed, inflammatory versions of the same allegations.

       Based upon the above referenced arguments, Defendants Hemphill and Smith respectfully

join in Defendant City of Memphis, Defendant Robert Long, and Defendant Michelle Whitaker’s

response in opposition to Plaintiff’s request for leave to file an Amended Complaint in this case.


                                                     Respectfully submitted,

                                                     GODWIN, MORRIS, LAURENZI
                                                     & BLOOMFIELD, P.C.

                                                     s/ Mary Elizabeth McKinney__________
                                                     Mary Elizabeth McKinney (TN Bar #21597)
                                                     Deborah E. Godwin (TN Bar #9972)
                                                      Attorneys for Defendants, Preston Hemphill
                                                     and Dewayne Smith, Individually
                                                     GODWIN, MORRIS, LAURENZI
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                                   CERTIFICATE OF SERVICE

I, Mary Elizabeth McKinney, hereby certify that on December 20, 2024, I filed a copy of the
foregoing with the Court via the Court’s ECF system, and that upon filing, a copy will be sent via
the Court’s ECF system to all registered parties in this case.

I further certify that there are no non-registered parties in this case.

                                                        s/ Mary Elizabeth McKinney __________
                                                        Mary Elizabeth McKinney




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